 Case 5:20-cr-50122-JLV Document 45 Filed 02/16/21 Page 1 of 2 PageID #: 149




                      UNITED STATES DISTRICT COURT

                         DISTRICT OF SOUTH DAKOTA

                                WESTERN DIVISION


UNITED STATES OF AMERICA,                            CR. 20-50122-02-JLV

                   Plaintiff,

    vs.                                                      ORDER

KIMBERLEE PITAWANAKWAT, a/k/a
“Stormy,”

                   Defendant.


      Now pending is defendant’s motion for the court to permit defense

counsel to provide the defendant with the discovery materials in her case for

her review. (Docket 39). Pursuant to the court’s Standing Order 19-03,

discovery materials shall remain in “defense counsel’s possession” and “not be

given to the Defendant or anyone else without the Court’s permission. Defense

counsel may allow the defendant to read the discovery materials, but only in

the presence of defense counsel, the defense investigator, or a defense expert.”

Defendant bases her request on the fact she is presently living in Oregon and

“is not financially able to make numerous trips to South Dakota” to review

discovery in the presence of counsel. (Docket 39). The government opposes

the motion, noting “defendant has multiple avenues of reviewing discovery and

assisting in her defense that do not require direct provision of discovery to her,”

including videoconferencing technology. (Docket 41 at p. 3). No good cause

shown, it is
Case 5:20-cr-50122-JLV Document 45 Filed 02/16/21 Page 2 of 2 PageID #: 150




    ORDERED that defendant’s motion (Docket 39) is denied.

    Dated February 16, 2021.

                            BY THE COURT:

                            /s/   Jeffrey L. Viken
                            JEFFREY L. VIKEN
                            UNITED STATES DISTRICT JUDGE




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